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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                     §
                                                 §
        Plaintiffs,                              §
 v.                                              §        Civil Action No. 4:20-cv-00957-SDJ
                                                 §
 GOOGLE LLC,                                     §
                                                 §
        Defendant.                               §



        GOOGLE’S UNOPPOSED MOTION TO ALLOW THE DEPOSITION OF
          GOOGLE’S EXPERT AFTER CLOSE OF EXPERT DISCOVERY

TO THE HONORABLE UNITED STATES DISTRICT JUDGE

       Expert discovery is scheduled to close on November 1, 2024. ECF No. 609 at 1. The

parties had agreed that one of Google’s experts would be deposed on October 31, 2024, but that

expert became ill and is no longer available to sit for a deposition until after the close of expert

discovery. In light of this illness, Google respectfully requests that the Court allow this expert’s

deposition to be taken after the close of expert discovery and treated as though it was taken prior

to the close of expert discovery. Google has conferred with Plaintiffs and they do not oppose this

motion. The parties will cooperate to schedule this deposition. Google does not otherwise seek

to modify the expert discovery deadline.

       Generally, when a party seeks to modify the scheduling order, the Court must consider

whether the party has shown “good cause.” Squyres v. Heico Companies, L.L.C., 782 F.3d 224,

237 (5th Cir. 2015). Good cause is determined based on four factors: “(1) the explanation for the

failure to timely [comply with the scheduling order]; (2) the importance of the [modification]; (3)

potential prejudice in allowing the [modification]; and (4) the availability of a continuance to cure




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such prejudice.” Springboards To Educ., Inc. v. Houston Indep. Sch. Dist., 912 F.3d 805, 819 (5th

Cir. 2019), as revised (Jan. 29, 2019), as revised (Feb. 14, 2019) (quoting Fed. R. Civ. P. 16(b)(4)).

       Google submits that there is good cause to allow the expert’s deposition to be taken after

November 1, 2024. First, while the parties were prepared to proceed with the deposition before

the close of expert discovery, the expert’s unanticipated illness necessitated postponement.

Second, under the circumstances, it is not possible to complete this deposition prior to the expert

discovery cut-off, such that the modification is important to ensure the deposition can proceed.

Third, holding the deposition after November 1 will not prejudice any party. Fourth, this

deposition will be completed promptly and the parties have agreed, assuming the Court’s

permission, that they will seek the same briefing schedule as to this expert witness as is sought in

the Joint Stipulation (Dkt. 649), to wit:

       1. The States may file a Daubert motion, if any, to the expert at issue by January 10, 2025.

       2. Google may file a response to this Daubert motion by January 24, 2025.

       3. The States may file a reply to this Daubert motion by February 7, 2025.

       Accordingly, good cause exists to allow the deposition to be taken after November 1 and

the above Daubert motion dates (only as to the expert at issue) be moved as set out above.


Dated: October 31, 2024                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on October 31, 2024, this document was filed electronically in compliance
with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
Local Rule CV-5(a)(3)(A).

                                                           /s/ Robert J. McCallum
                                                           Robert J. McCallum


                            CERTIFICATE OF CONFERENCE

       I certify that I conferred by telephone with Zeke DeRose III, counsel for Plaintiffs, on
October 31, 2024 at 2:37 p.m. Central Time and again at 6:33 p.m. Central Time regarding this
request. In an email sent at 7:38 p.m. Central Time, Mr. DeRose confirmed that Plaintiffs did not
oppose Google’s request to reschedule the deposition at issue or filing this motion.


                                                           /s/ Robert J. McCallum
                                                           Robert J. McCallum




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